806 F.2d 258Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Franklin Lee GREEN, Defendant-Appellant.
    No. 86-5110.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1986.Decided Dec. 4, 1986.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Solomon Blatt, Jr., District Judge.  (CR No. 85-276)
      John Frank Hardaway, Deputy Federal Public Defender, on brief, for appellant.
      Vinton D. Lide, United States Attorney, J. Robert Haley, Assistant United States Attorney, for appellee.
      D.S.C.
      AFFIRMED.
      Before WIDENER, ERVIN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Franklin Lee Green appeals his conviction for theft of personal property valued in excess of $100.00 within the special maritime and territorial jurisdiction of the United States in violation of 18 U.S.C. Sec. 661.  On appeal, Green's court-appointed attorney filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967), stating that in his opinion no meritorious issues exist on appeal.  A copy of the Anders brief and an invitation to supply supplemental materials were provided to Green, who has not responded.  The United States has moved for summary affirmance.
    
    
      2
      After an independent review of the record and other pertinent papers, we conclude that there are no nonfrivolous grounds for appeal and accordingly affirm the judgment below.
    
    
      3
      In the case of an unsuccessful appellant represented by appointed counsel, the responsibilities of the attorney are set forth in the plan adopted by the Fourth Circuit Judicial Council in implementation of the Criminal Justice Act, 18 U.S.C. Sec. 3006A.  These responsibilities include informing his client in writing of his right to petition the Supreme Court for a writ of certiorari.  If so requested by his client, counsel should prepare a timely petition for the writ and take the steps that are necessary to protect the rights of his client.
    
    
      4
      Because the record and other materials before us disclose no reversible error, we dispense with oral argument and affirm the conviction.
    
    
      5
      AFFIRMED.
    
    